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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 RANDY BERKSHIRE, #371645,                )
                  Plaintiff,              )
                                          )      No. 1:19-cv-808
 v.                                       )
                                          )      Honorable Paul L. Maloney
 JESSICA HAZEL, et al.,                   )
                     Defendants.          )
                                          )

                                      JUDGMENT

       This Court has resolved all pending claims in this lawsuit. As required by Rule 58 of

 the Federal Rules of Civil Procedure, JUDGMENT ENTERS.

       THIS ACTION IS TERMINATED.

       IT IS SO ORDERED.

 Date: November 23, 2021                                /s/ Paul L. Maloney
                                                        Paul L. Maloney
                                                        United States District Judge
